98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.SUROVELL, JACKSON, COLTEN &amp; DUGAN, PC, Plaintiff,Thomas A. SMITH, Defendant-Appellant,v.INTERNAL REVENUE SERVICE, Defendant-Appellee,andDay Investments, a/k/a Walter Douglas Day;  Douglas Day,a/k/a Walter Douglas Day, Defendants.
    No. 96-1485.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 17, 1996.Decided Oct. 9, 1996.
    
      Thomas A. Smith, Appellant Pro Se.  Gary R. Allen, William Sears Estabrook, III, Marion Elizabeth Erickson, UNITED STATES DEPARTMENT OF JUSTICE, Washington, D.C., for Appellee.
      E.D.Va.
      AFFIRMED.
      Before HALL, MICHAEL, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting Defendant's motion for summary judgment.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Smith v. IRS, No. CA-95-875-A (E.D.Va. Apr. 8, 1996).  Because the issues are not complex, we deny Appellant's Motion for Appointment of Counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    